Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 21-20151-CR-ALTMAN

    UNITED STATES OF AMERICA

    vs.

    MIGUEL EMILIO GUTIERREZ DIAZ,
       a/k/a "Aleman,"

           Defendant.
    - - - - - - - - - - - - - - - - - - -I



                                         PLEA AGREEMENT

           The United States Attorney's Office for the Southern District of Florida ("this Office") and

    MIGUEL EMILIO GUTIERREZ DIAZ (hereinafter referred to as the "defendant") enter into·

    the following agreement:

    1.     The defendant agrees to plead guilty to Count One of the Indictment (hereinafter

    "Indictment"), which count ch~rges that from in or around 2014, and continuing through in and

    around 2017, in Miami-Dade, Broward, and Monroe Counties, in the Southern District of Florida,

    and in the countries of the Dominican Republic, Columbia, and elsewhere, the defendant did

    knowingly and willfully conspire with other persons to distribute a controlled substance in

    Schedule II, that is, 5 kilograms or more of a mixture and substance containing a detectable amount

    of cocaine, intending, knowing, and having reasonable cause to believe that such controlled
                                                                                      '
    substance would be unlawfully imported into the United States, in violation of Title 21, United

    States Code, Section 959(a); all in violation of Title 21, United States Code, Section 963.

     2.    The United States agrees to dismiss Counts Two and Three of the Indictment at the time

    of sentencing.
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 2 of 9




    3.     The defendant is aware that the sentence will be imposed by the Court after considering

    the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter "Sentencing

    Guidelines"). The defendant acknowledges and understands that the Court will compute an

    advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

    determined by the Court relying in part on the results of a pre-sentence investigation by the Court's

    probation office, which investigation will commence after the guilty plea has been entered. The

    defendant is also aware that, under certain circumstances, the Court may depart from the advisory

    Sentencing Guidelines range that it has computed and may raise or lower that advisory sentence

    under the Sentencing Guidelines. The defendant is further aware and understands that the Court

    is required to consider the advisory guideline range determined under the Sentencing Guidelines

    but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor

    the ultimate sentence in light of other statutory concerns, and such sentence may be either more

    severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts, the

    defendant understands and acknowledges that the Court has the authority to impose any sentence

    within and up to the statutory maximum authorized by law for the offenses identified in paragraph

    1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

    4.     The defendant also understands and acknowledges that the Court may impose a statutory

    maximum tenn of imprisonment of up to life imprisonment and must impose a statutory minimum

    tenn of 10 years' imprisonment, followed by a term of supervised release of at least 5 years and

    up to a lifetime of supervised release. In addition to a term of imprisonment and supervised

    release, the Court may impose a fine ofup to $10,000,000.

    5.     The defendant further understands and acknowledges that, in addition to any sentence

    imposed under paragraph 4 of this agreement, a special assessment in the amount of $100 will be

    imposed on the defendant. The defendant agrees that any special assessment imposed shall be
                                                     2
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 3 of 9




    paid at the time of sentencing. If the defendant is financially unable to pay the special assessment,

    the defendant agrees to present evjdence to this Office and the Court at the time of sentencing as

    to the reasons for the defendant's failure to pay.

    6.      This Office reserves the right to inform the Court and the probation office of all facts

    pertinent to the sentencing process, including all relevant information concerning the offenses

    committed, whether charged or not, as well as concerning the defendant and the defendant's

    background. Subject only to the express terms of any agreed-upon sentencing recommendations

    contained in this agreement, this Office further reserves the right to make any recommendation as

    to the quality and quantity of punishment.

    7.      This Office agrees that it will recommend at sentencing that the Court reduce by two levels
             (.

    the Sentencing Guidelines level applicable to the defendant's offense, pursuant to Section 3E 1.1 (a)

    of the Sentencing Guidelines, based upon the defendant's recognition and affirmative and timely

    acceptance of personal responsibility. If at the time of sentencing the defendant's offense level is

    determined to be 16 or greater, this Office will file a motion requesting an additional one level
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    decrease pursuant to Section 3El.l(b) of the Sentencing Guidelines, stating that the defendant has

    assisted authorities in the investigation or prosecution of the defendant's own misconduct by

    timely notifying authorities of the defendant's intention to enter a plea of guilty, thereby permitting

    the government to avoid preparing for trial and permitting the government and the Court to allocate

    their resources efficiently. This Office, however, will not be required to make this motion and

    this recommendation if the defendant: (1) fails or refuses to make a full, accurate and complete

    disclosure to the probation office of the circumstances surrounding the relevant offense conduct;

    (2) is found to have misrepresented facts to the government prior to entering into this plea

    agreement; or (3) commits any misconduct after entering into this plea agreement, including but



                                                         3
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 4 of 9




    not limited to committing a state or federal offense, violating any term of release, or making false

    statements or misrepresentations to any governmental entity or official.

    8.     The United States and the defendant agree that at the time of sentencing, although not

    binding on the probation office or the Court, they will jointly recommend that, pursuant to Section

    5C 1.2 of the Sentencing Guidelines, the Court impose a sentence in accordance with theAl-pplica~h
                                                                                               -\-OLlX   &t:::l'ff-_
    guidelines without regard to any statutory minimum sentence identified in paragraph ~ab-ove,

    provided that:

           a.        The defendant does not have:

                     1.      More than four Criminal History points, excluding any Criminal History

    points resulting from a one-point offense, as calculated under the Sentencing Guidelines;

                     2.      A prior offense earning three points as calculated under the Sentencing

    Guidelines; or

                     3.      A prior violent offense, as defined in Title 18, United States Code, Section

    16, earning two points as calculated tinder the Sentencing Guidelines;

           b.        The defendant did not use violence or credible threats of violence or possess a

    firearm or other dangerous weapon, or induce another participant to do so, in connection with the

    offense;

           c.        The offense did not result in death or serious bodily injury to any person;
                                                       -
           d.        The defendant was not an organizer, leader, manager, or supervisor of others in the

    offense, as determined under the Sentencing Guidelines and was not engaged in a continuing

    criminal enterprise; and

           e.        Not later than the time of the initial sentencing hearing, the defendant has truthfully

    provided to the Government all information and evidence that the defendant has concerning the

    offense of offenses that were part of the same course of conduct or of a common scheme or plan.
                                                       4
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 5 of 9

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    9.     The criteria for the defendant to qualify for a two-level reduction outlined in paragraph 8

    is the criteria set forth in Title 18, United States Code, Section 3553(f), as amended by the First

    Step Act of 2018. Section 5Cl.2 of the sentencing Guidelines has not been amended by the
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    Sentencing Commission to incorporate the cunent provisions of Section 3553(f), as amended.

    Consequently, the defendant may meet the current statutory criteria under Section 3553(f), but not

    meet the current criteria of Section 5Cl.2. If the defendant satisfies the criteria in paragraph 8

    but does not meet the current criteria under Section 5Cl.2 and is therefore ineligible for a two-

    level reduction under Section 2Dl.1(18) of the Sentencing Guidelines, this Office will not object

    to a downward variance of two levels from the guideline range calculated under the current

    Guidelines Manual to reflect the two-level reduction cunently contemplated in Section

    2D 1.1 (b)(18). In exchange, if a two-level variance is granted the defendant expressly agrees that ·

    he will not later seek a further reduced sentence pursuant to Title 18, United States Code, Section

    3582(c) in the event the Sentencing Commission amends Section 5Cl.2 to conform to the safety-

    valve criteria in the cunent version of Title 18, United States Code, Section 3553(f) under the First

    Step Act of 2018 and makes any such amendment retroactive. However, if the Court does not

    grant the two-level variance requested on the basis of the proposed amendment, then the defendant

    shall be released from the above-described agreement relating to Title 18, United States Code,

    Section 35 82(c). This Office remains free to oppose a variance sought on any other grounds. The

    defendant understands and agrees that this provision is not binding on the Court or the Probation

    Office, and that the Court remains free to deny any variance requested by either party or jointly.

    10.    This Office and the defendant agree that, although not binding on the probation office or

    the Court, they will jointly recommend that the Court make the following findings and conclusions

    as to the sentence to be imposed:



                                                     5
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 6 of 9




           a.      That the quantity of cocaine involved in the offense, for purposes of Section

    2Dl.l(a) and (c) of the. Sentencing Guidelines, is greater than 450 kilograms (corresponding to

    level 38 of the Guidelines).

            b.     That the defendant's offense level should neither be increased nor decreased for the

    defendant's role in the offense, pursuant to U.S.S.G. section$ 3Bl.1 (aggravating role), or 3Bl.2

    (mitigating role).

    11.    The defendant is aware that the sentence has not yet been determined by the Court. The

    defendant also is aware that any estimate of the probable sentencing range or sentence that the

    defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

    the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

    office or the Court. The defendant understands further that any recommendation that this Office

    makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

    on the Court and the Court may disregard the recommendation in its entirety. The defendant

    understands and acknowledges, as previously acknowledged in paragraph 3 above, that the

    defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

    recommendation made by the defendant, this Office, or a recommendation made jointly by the

    defendant and this Office.

    12.    The defendant agrees that he shall cooperate fully with this Office by: (a) providing truthful

    and complete information and testimony, and producing documents, records and other evidence,

    when called upon by this Office, whether in interviews, before a grand jury, or at any trial or other

    Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and other judicial

    proceedings, and at meetings, as may be required by this Office; and (c) if requested by this Office,

    working in an undercover role under the supervision of, and in compliance with, law enforcement

    officers and agents. In addition, the defendant agrees that he will not protect any person or entity
                                                      6
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 7 of 9




    through false information or omission, that he will not falsely implicate any person or entity, and

    that he that he will not commit any further crimes.

    13.    This Office reserves the right to evaluate the nature and extent of the defendant's

    cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

    sentencing. If in the sole and unreviewable judgment of this Office the defendant's cooperation

    is of such quality and significance to the investigation or prosecution of other criminal matters as

    to warrant the Cou1i's downward departure from the advisory sentencing range calculated under

    the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

    make a motion prior to sentencing pursuant to Section 5Kl.l of the Sentencing Guidelines and/or

    Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

    the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

    substantial assistance and recommending that the defendant's sentence be reduced.                The

    defendant understands and agrees, however, that nothing in this agreement requires this Office to

    file any such motions, and that this Office's assessment of the quality and significance of the

    defendant's cooperation shall be binding as it relates to the appropriateness of this Office's filing

    or non-filing of a motion to reduce sentence.

    14.    The defendant understands and acknowledges that the Court is under no obligation to grant

    a motion for reduction of sentence filed by this Office.        In addition, the defendant further

    understands and acknowledges that the Court is under no obligation of any type to reduce the

    defendant's sentence because of the defendant's cooperation.

    15.    The defendant agrees to assist this Office in all proceedings, administrative or judicial,

    involving forfeiture to the United States of any property, including substitute property, regardless

    of its nature or form, real or personal, which the defendant or others known to the defendant, have

    accumulated as a result of illegal activities. The assistance shall include: identification of any
                                                     7
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 8 of 9




    property subject to forfeiture; agreement to the entry of an order enjoining the transfer or

    encumbrance of such property; and the transfer of such property to the United States by delivery

    to this Office upon this Office's request, any necessary and appropriate documentation, including

    consents to forfeiture and quit claim deeds, to deliver good and marketable title to such property.

    16.     The defendant is aware that Title 28, United States Code, Section 1291 and Title 18, United

    States Code, Section 3742 afford the defendant the right to appeal the sentence imposed in this

    case. Acknowledging this, in exchange for the undertakings made by the United States in this

    plea agreement, the defendant hereby waives all rights conferred by Sections 1291 and 3742 to

    appeal any sentence imposed, including any restitution order, or to appeal the manner in which the

    sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

    result of an upward departure and/or an upward variance from the advisory guideline range that

    the Court establishes at sentencing.      The defendant further understands that nothing in this

    agreement shall affect the government's right and/or duty to appeal as set forth in Title 18, United

    States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

    United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291, the

    defendant shall be released from the above waiver of his right to appeal his sentence.            The

    defendant further hereby waives all rights conferred by Title 28, United States Code, Section 1291

    to assert any claim that (1) the statute(s) to which the defendant is pleading guilty is/are

    unconstitutional; and/or (2) the admitted conduct does not fall within the scope of the statute(s) of

    conviction.   By signing this agreement, the defendant acknowledges that the defendant has

    discussed the appeal waiver set forth in this agreement with the defendant's attorney.            The

    defendant further agrees, together with this Office, to request that the Court enter a specific finding

    that the defendant's waiver of his right to appeal the sentence imposed in this case and his right to

    appeal his conviction in the manner described above was knowing and voluntary.
                                                      8
Case 1:21-cr-20151-RKA Document 55 Entered on FLSD Docket 11/03/2021 Page 9 of 9




   17.     The defendant recognizes that pleading guilty may have consequences with respect to the

   defendant's immigration status if the defendant is not a citizen of the United States. Under federal

   law, a broad range of crimes are removable offenses, including the offense to which the defendant

   is pleading guilty.        Indeed, because the defendant is pleading guilty to narcotics t~afficking,

   removal is presumptively mandatory.             The defendant knowingly and voluntarily consents to

   removal from the United States following completion of his sentence, waives any rights relating

   to any and all forms of relief from removal or exclusion, agrees to abandon any pending

   applications for such relief, and agrees to cooperate with the Department of Homeland Security

   during removal proceedings.

   18.     This is the entire agreement and understanding between this Office and the defendant.

   There are no other agreements, promises, representations, or understandings and this agreement

   supersedes any prior agreements, including any KasNgar letter agreements entered.


                                                      JUAN ANTONIO GONZALEZ
                                                      ACTING UNITED STATES ATTORNEY


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